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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the Oil Rig                        *      MDL NO. 2179
       “DEEPWATER HORIZON: in the                      *
       GULF OF MEXICO, on April 20, 2010               *
                                                       *      SECTION: “J”
                                                       *
                                                       *
                                                       *      JUDGE BARBIER
                                                       *      MAG. JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:                              *
      Civil Action No. 10-1245                         *
      Darleen Jacobs Levy vs. BP, PLC, et al           *

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               ELEVENTH SUPPLEMENTAL COMPLAINT FOR DAMAGES

       NOW COMES Plaintiff Darleen Jacobs Levy, who supplements her Original, First,

Second, Third , Fourth, Fifth, Sixth, Seventh, Eight, Ninth and Tenth Supplemental and

Amending Complaint for Damages to add the following additional Plaintiffs:

Quik Pik Food Mart/Dolly’s Deli, Inc. through William Laurendine, President

                                                 I.

       Plaintiffs adopt herein by reference all allegations contained in their Original, First,

Second, Third, Fourth, Fifth, Sixth, Seventh, Eight, Ninth and Tenth Supplemental and

Amending Complaints for Damages.

                                                 II.

       Plaintiff supplements her Original, First, Second, Third, Fourth, Fifth, Sixth, Seventh,

Eight and Ninth Supplemental and Amending Complaints for Damages by adding the following

to Paragraph 2 thereof:


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        1)      Quik Pik Food Mart/Dolly’s Deli, Inc., through William Laurendine, President -

                loss of income from restaurant and convenience store.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, reiterating and reavering each and every allegation of their

Original, First, Second, Third, Fourth, Fifth, Sixth, Seventh, Eight, Ninth and Tenth

Supplemental and Amending Complaints pray that the additional plaintiffs be added and pray for

a judgment against Defendants as follows:

1.      For all economic and compensatory damages sustained;

2.      For all Phase I and Phase II Environmental Assessment Damages as well as remediation;

3.      For punitive damages as permitted by law;

4.      For all attorney’s fees and cost of litigation;

5.      For legal interest from the date of judicial demand until paid in full;

6.      For class action certification and trial by jury;

7.      For mental anguish, pain and suffering, fear and fright, lost wages, loss of earning

        capacity, medical expenses, loss of enjoyment of life;

9.      For any required cleanup indicated by a Phase II Environmental assessment of property;

10.     For costs of an environmental assessment of property; and

11.     For all other further relief to which Plaintiffs may be entitled in law and/or equity.




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                                                    Respectfully submitted:

                                                    S/Darleen M. Jacobs
                                                    DARLEEN M. JACOBS, ESQ. (#7208)
                                                    RICHARD MARTIN, ESQ.
                                                    KENNETH CHARBONNET, ESQ.
                                                    823 St. Louis Street
                                                    New Orleans, LA 70112
                                                    (504) 522-0155
                                                    Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the above the above and foregoing Ninth Supplemental and
Amending Complaint has been served on All Counsel by electronically uploading the same to
Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was
electronically filed with the Clerk of Court of the United States District Court for the Eastern
District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing
in accordance with the procedures established in MDL 2179, on this 13th day of April, 2011.


                                                    S/Darleen M. Jacobs
                                                    DARLEEN M. JACOBS




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